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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                             UNITED STATES DISTRICT COURT                               January 20, 2022
                              SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  GALVESTON DIVISION

 QUNESHIA RAWLS,
 Individually and on behalf of all others similarly
 situated,                                            Case No. 3:21-cv-00303
                    Plaintiff,
                                                      JURY TRIAL DEMANDED
         v.
                                                      COLLECTIVE ACTION
 CONVERGENT OUTSOURCING, INC.,
                                                      PURSUANT TO 29 U.S.C. § 216(B)
                     Defendant.


                                               ORDER

       Before the Court is Plaintiff’s Unopposed Motion to Dismiss with Prejudice and for Approval

of Settlement Agreement (“the Motion”). (ECF No. ___). Having carefully reviewed and considered

the Motion and the Settlement Agreement, the Court is of the opinion that it is fair and reasonable

and involves a bona fide dispute over an FLSA provision. The Motion is accordinlgy granted.

       IT IS, THEREFORE, ORDERED that the Motion is GRANTED.


       ORDERED this ______        January
                     20th day of __________________________, 2021.


                                                __________________________________________
                                                PRESIDING JUDGE
